         Case 20-11807-amc                    Doc
 Fill in this information to identify the case:
                                                        Filed 08/13/20 Entered 08/13/20 08:46:43                     Desc Main
                                                        Document      Page 1 of 3
B 10 (Supplement 2) (12/11) (post publication draft)
 Debtor 1    Tracy L. Brown
             __________________________________________________________________


 Debtor 2              ________________________________________________________________
 (Spouse, if filing)

                                         EASTERN
 United States Bankruptcy Court for the: ______________________              PA
                                                                District of __________
                                                                            (State)
 Case number            20-11807-amc
                       ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                          12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   Lakeview Loan Servicing, LLC
 Name of creditor: _______________________________________                                                            19
                                                                                          Court claim no. (if known): __________________

 Last 4 digits of any number you use to                 6023
 identify the debtor’s account:                         ____ ____ ____ ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 X
   No
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                       Dates incurred                                     Amount

  1. Late charges                                                       _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                    _________________________________            (2)   $ __________
  3. Attorney fees                                                      _________________________________            (3)   $ __________
  4. Filing fees and court costs                                        _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                     _________________________________
                                                                        06.04.2020                                   (5)     400.00
                                                                                                                           $ __________
  6. Appraisal/Broker’s price opinion fees                              _________________________________            (6)   $ __________
  7. Property inspection fees                                           _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                          _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                    _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________            _________________________________           (10)   $ __________
                            Review of Plan
 11. Other. Specify:____________________________________                04.13.2020
                                                                        _________________________________           (11)     250.00
                                                                                                                           $ __________
                    Proof of Claim 410A
 12. Other. Specify:____________________________________                06.04.2020
                                                                        _________________________________           (12)     250.00
                                                                                                                           $ __________
 13. Other. Specify:____________________________________                _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                            Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1
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Debtor 1
                 Tracy L. Brown
             _______________________________________________________                                                20-11807-amc
                                                                                            Case number (if known) _____________________________________
             First Name        Middle Name               Last Name




 Part 2:     Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

   I am the creditor.
  
  X
    I am the creditor’s authorized agent.


  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



             __________________________________________________
                /s/ Lauren M. Moyer
                  Signature
                                                                                            Date
                                                                                                     08    13   2020
                                                                                                    ____/_____/________




 Print:            Lauren M. Moyer
                  _________________________________________________________                 Title   Attorney for creditor
                                                                                                    ___________________________
                  First Name                      Middle Name        Last Name



 Company           McCabe, Weisberg & Conway, LLC
                  _________________________________________________________



 Address           123 S. Broad Street, Suite 1400
                  _________________________________________________________
                  Number                 Street
                   Philadelphia, PA 19109
                  ___________________________________________________
                  City                                               State       ZIP Code




 Contact phone       215 _____–
                  (______) 790 _________
                                 1010                                                             ecfmail@mwc-law.com
                                                                                            Email ________________________




Official Form 410S2                                 Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2
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                        UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA
In re:   Tracy L. Brown                   Chapter 13
                                          Bankruptcy No. 20-11807-amc
                      Debtor(s)

Lakeview Loan Servicing, LLC, or its Successor
or Assignee
                    Movant
             vs.

WILLIAM C. MILLER, Esq., Trustee
Tracy L. Brown
                Respondent(s)


 CERTIFICATION OF SERVICE OF NOTICE OF POSTPETITION MORTGAGE FEES,
                       EXPENSES, AND CHARGES

         I, Lauren M. Moyer, attorney for Lakeview Loan Servicing, LLC, hereby certify that I
 served a true and correct copy of the foregoing Notice of Postpetition Mortgage Fees, Expenses,
 and Charges, by United States Mail, first class, postage prepaid, and/or electronic means, upon
 the following:
 Date Served: August 13, 2020

 Tracy L. Brown                   ERIK B. JENSEN                   WILLIAM C. MILLER, Esq.
 327 Hellerman Street             Jensen Bagnato, PC               Chapter 13 Trustee
 Philadelphia, PA 19111           1500 Walnut St.                  P.O. Box 1229
                                  Suite 1920                       Philadelphia, PA 19105
                                  Philadelphia, PA 19102           Trustee
                                  Attorney for Debtor

                                  Office of the U.S. Trustee
                                  200 Chestnut Street
                                  Suite 502
                                  Philadelphia, PA 19106


                                      /s/ Lauren M. Moyer
                                      MARGARET GAIRO, ESQUIRE ID # 34419
                                      ANN E. SWARTZ, ESQUIRE ID #201926
                                      LAUREN M. MOYER, ESQUIRE ID # 320589
                                      JOHN M. KOLESNIK, ESQUIRE ID # 308877
                                      Attorney for Lakeview Loan Servicing, LLC
                                      123 South Broad Street, Suite 1400
                                      Philadelphia, PA 19109
                                      Telephone: (215) 790-1010
                                      Facsimile: (215) 790-1274
                                      Email: ecfmail@mwc-law.com
